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Richard J. McCord, Esq.
Robert D. Nosek, Esq.                                             Hearing Date: January 21, 2025
CERTILMAN BALIN ADLER & HYMAN, LLP                                  Time: 2:30 p.m.
Counsel to the Chapter 7 Trustee                                  Objection Date: January 14, 2025
90 Merrick Avenue                                                   Time: 5:00 p.m.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
In re:
                                                                         Chapter 7
HUI QIN a/k/a MUK LAM LI a/k/a KARL QIN,
                                                                         Case No.: 24-41955-ess
                            Debtor.
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          MOTION FOR AN ORDER PURSUANT TO 11 U.S.C. § 105(a) AND
        FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 APPROVING
      SETTLEMENT, COMMON INTEREST AND COOPERATION AGREEMENT
         AND GRANTING SUCH OTHER AND FURTHER RELIEF AS IS JUST

        Richard J. McCord, Esq. (the “Trustee”), as Chapter 7 Trustee of the Estate (the “Estate”)

of Hui Qin a/k/a Muk Lam Li a/k/a Karl Qin (the “Qin Debtor”), in the above-captioned case, by

and through his counsel, Certilman Balin Adler & Hyman, LLP, hereby seeks an order pursuant

to 11 U.S.C. § 105(a) and Rules 2002(a)(3) and 9019(a) of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rules”) approving a Settlement, Common Interest and Cooperation

Agreement (the “Agreement”), a copy of which is annexed hereto as Exhibit A, by and between

the Trustee, on one hand, and Terry Kan and Anita Hou (collectively, the “Liquidators”), Court

Appointed Joint Liquidators of the Debtor, SMI Holdings Group Ltd. (collectively the “HK

Debtor”) and providing such other and further relief as is just and proper (the “Motion”); and

respectfully represents and sets forth as follows:

                                SUMMARY OF RELIEF REQUESTED

        1.       Upon information and belief, the Debtor owned and/or controlled the HK Debtor

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for several years during which the Liquidators assert that the Qin Debtor misappropriated at least

US $37,000,000 from the HK Debtor. They further allege that the Qin Debtor directly or indirectly

used such monies to fund financial accounts and/or acquire real property and/or other personal

property directly or indirectly owned by the Qin Debtor. The Liquidators are based in Hong Kong

and have advised the Trustee that they have a substantial amount of documents and information, a

good part of which is in Chinese, concerning the Qin Debtor’s involvement with the HK Debtor.

Although the Trustee understands that the assets which the Qin Debtor has admitted or asserted to

having an ownership interest appear to be located in the United States, he also understands that

there may be other undisclosed assets located outside the United States.

       2.      As set forth in more detail below, the Trustee has been able to secure, subject to

this Court’s approval, a resolution of claims and issues with the Liquidators that, on balance, the

Trustee believes in his business judgment will provide material benefit to the creditors of the Qin

Debtor’s estate. Several considerations form the basis of that decision. First, the Qin Debtor has

produced effectively zero information to the Trustee to substantiate his claims to certain assets,

with the Trustee having to rely on information obtained by certain creditors of the Qin Debtor pre­

petition. It is also an important part of his consideration that a large number of the creditors

asserting claims against the Qin Debtor’s estate also have asserted or would be entitled to assert,

claims against the HK Debtor. Moreover, with the apparent origin of the monies used to acquire

real and personal property by the Qin Debtor and/or family members or associates for his benefit,

which funds originated overseas in Chinese territories, this proposed cooperation and sharing

agreement provides the Trustee and the Qin Debtor’s estate with an overseas presence to assist the

Trustee in obtaining information which may be used to recover assets that belong to the Qin


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Debtor’s Estate and will therefore benefit its creditors.

         3.      The salient provisions of the Agreement are as follows:

                 a. In full and final resolution of the Liquidators’ claims against the
                    Debtor’s Estate, the Parties agree that the Liquidators shall be entitled
                    to receive 50% of the net proceeds recovered from the liquidation of the
                    Qin Debtor’s non-exempt assets, wherever located. Agr. 2.

                 b. In the event the amounts paid over to the Liquidators as Liquidator
                    Distributions exceed the total amount of adjudicated claims against the
                    HK Debtor and any and all professional fees, including the fees owed to
                    the Liquidators, such excess amounts will be paid over to the Estate for
                    distribution to the creditors of the Qin Debtor’s Estate. Agr. | 4.

                 c. Because some assets of the Qin Debtor may be located in foreign
                    jurisdictions in which the Liquidators are better positioned to bring
                    about recovery of same and it is believed that much of the information
                    that can establish the Qin Debtor’s legal or equitable ownership of assets
                    may be located overseas and in a foreign language, the Trustee and the
                    Liquidators agree to share information and cooperate so that as much of
                    the Qin Debtor’s assets can be located, recovered and liquidated. Agr.
                     H5.

                 d. To be effective, the Agreement need to be approved by this Court as
                    well as by the HK Court. Agr. 7.

        4.       Accordingly, the Trustee has entered into the Agreement with the Liquidators that

eliminates any litigation or argument over direct or derivative claims against third parties and/or

in and to any real or personal property in which the Qin Debtor has a legal or equitable interest.

Upon the approval of the Agreement by this Court and the court overseeing the HK Debtors’

liquidation, it is expected that the Trustee and the Liquidators will, at that point, join forces in a

unified effort to track down, recover and liquidate assets for the benefit of the creditors of the Qin

Debtor and the HK Debtor, many of which have claims against both estates.1 It is recommended



1 See Schedule 2 to the Agreement.

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that creditors and parties in interest review the Agreement for additional details.

        5.     As such, to avoid litigation expenses being incurred in legal proceedings in multiple

courts and the time delays that would accompany such proceedings, by this Motion, the Trustee

seeks entry of an Order, pursuant to 11 U.S.C. § 105(a) and Bankruptcy Rules 2002(a)(3) and

9019(a), approving the proposed Agreement and authorizing the Trustee to enter into it. The

Liquidators will also seek approval of the Agreement in their requisite court.

                                         JURISDICTION

       6.     This Court has jurisdiction over this Motion under 28 U.S.C. § 1334. This is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this proceeding is proper

pursuant to 28 U.S.C. § 1408 and 1409.

       7.      The relief sought in this Motion is based upon Section 105(a) of the Bankruptcy

Code, Bankruptcy Rules 2002(a)(3) and 9019(a) and L.B.R. 9077-1(c).

                                         BACKGROUND

       8.      On May 8, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief (the “Bankruptcy Case”) under Chapter 7 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of New York

(the “Bankruptcy Court”).

       9.      By Notice of Appointment of Trustee, dated May 8, 2024 [ECF Doc. No. 3], the

Trustee was duly appointed the Chapter 7 Trustee of the Debtor’s Estate, has qualified and is and

has been the permanent trustee in this Bankruptcy Case.

       10.     Prior to the Petition Date, a group of creditors asserting claims against the Qin

Debtor commenced an action against, among other persons, the Qin Debtor, his putative ex-spouse,


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and a substantial amount of business entities alleged to hold assets either as a result of fraudulent

conveyances or as outright sham transactions. See Huzhou Chuangtai Rongyuan Investment

Management Partnership, et al. v. Qin, et al., 24 Civ. 2210 (S.D.N.Y.) (the “SDNY Action”). The

Liquidators assert that many of those assets alleged to actually belong to the Qin Debtor were

obtained or funded by monies improperly or illegally taken from the HK Debtor over a period of

years such that the Liquidators assert that they may be able to claim title to (or substantial interests

in) such assets over the claims of others, including, but not limited to, the Qin Debtor.

        11.     For instance, the Debtor commenced a pre-petition action styled Hui Qin v. Duo

Liu, St. Grand Ceremony, LLC and PH2003 Unit LLC in the Supreme Court of the State of New

York, County of New York, Index No. 152062/2024 (the “Pre-Petition Action”) which, among

other things, asserted that the Debtor holds an alleged property interest in the following two

condominium units in the building known as The Plaza Condominium (the “Condominium”) with

a street address of One Central Park South, New York, NY 10019: (i) Unit 2003 together with its

appurtenant interest in the common elements of the Condominium (“Unit 2003”), and (ii) Unit

2009 together with its appurtenant interest in the common elements of the Condominium (“Unit

2009”, and together with Unit 2003, collectively, the “Apartments”). The Qin Debtor’s putative

ex-wife asserts that Unit 2003 is owned by PH2003, Unit 2009 is owned by St. Grand and PH2003

and St. Grand are both owned and/or controlled by Duo “Emma” Liu.

        12.    On the other hand, the Trustee believes that the Debtor’s Estate may have an interest

in the Apartments and/or the proceeds of the sale thereof. The Liquidators assert that it was the

HK Debtor’s money that was originally used to acquire the Apartments. Thus, there are multiple

persons asserting ownership claims against the Apartments. Such multiple, competing claims to


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ownership affect other assets that may be recoverable, including financial accounts, and other real

or personal property.

        13.    The Parties, through counsel, engaged in extensive discussions concerning (i) the

universe of known potential assets, (ii) the fact that most of the information concerning those

assets, or at least how and when acquired by or for the benefit of the Qin Debtor, may be in a

foreign language, with some assets located overseas, and (iii) the various litigations that could be

involved in recovering those assets and wish to avoid the uncertainty, expense, and delay incident

to protracted litigation. That resolution includes not having to litigate over whether the assets were

acquired with monies of the Qin Debtor or to which he was otherwise entitled, or were improperly

acquired with money belonging to the HK Debtor.           Some of that litigation may require the

application of foreign laws. As discussed in more detail below, the Trustee respectfully submits

that this resolution falls well above the lowest level in the range of reasonableness and provides

substantial value to the Debtor’s Estate and its creditors holding allowed claims. As a result, the

Trustee requests that the Agreement be approved by the Court.

                                        RELIEF REQUESTED

       14.     Bankruptcy Rule 9019 governs the approval of compromises and settlements, and

provides in relevant part at follows:

               On motion by the trustee and after notice and a hearing, the court may
               approve a compromise or settlement. Notice shall be given to creditors, the
               United States trustee, the debtor, and indentured trustees as provided in Rule
               2002 and to any other entity as the court may direct.

Fed. R. Bankr. P. 9019(a). Compromise or settlement is generally favored, with the Rule 9019

approval process actually encouraging such outcomes, subject to analysis and approval by the

Court. See Nellis v. Shugrue, 165 B.R. 115, 122 (S.D.N.Y. 1994) (citing In re New York, N.H. &

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H. R.R. v. Smith, 632 F.2d 955, 959 (2d Cir.), cert, denied sub nom. Barry v. American Financial

Enterprises, Inc., 449 U.S. 1062, 101 S.Ct. 786, 66 L.Ed.2d 605 (1980)).

        15.    In approving a compromise or settlement, the Court is required to make an

“informed and independent judgment” as to whether the compromise is “fair and equitable” based

on an

               educated estimate of the complexity, expense, and likely duration of such
               litigation, the possible difficulties of collecting on any judgment which
               might be obtained, and all other factors relevant to a full and fair assessment
               of the wisdom of the proposed compromise. Basic to this process in every
               instance, of course, is the need to compare the terms of the compromise with
               the likely rewards of litigation.

Protective Comm, for Index. Stockholders ofTMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414,

424-25 (1968) [hereinafter “TMT”]; see also Airline Pilots Assen v. Am. Natal Bank & Trust Co.

(In re Ionosphere Clubs, Inc.), 156 BR. 414 (S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994);

SEC v. Drexel Burnham Lambert Group, Inc. (In re Drexel Burnham Lambert Group, Inc.), 960

F.2d 285, 292 (2d Cir., 1992), cert, dismissed, 506 U.S. 1088 (1993); In re Arrow Air, Inc., 85

B.R. 886, 891 (Bankr. S.D. Fla. 1988).

        16.    Any determination on the “propriety of the settlement” shall be made by the court

after considering whether the proposed settlement is in the “best interest of the estate,” (Handler

v. Roth (In re Handler), 386 B.R. 411, 420 (Bankr. E.D.N.Y. 2007) (quoting In re Adelphia

Comm’n Corp., 321 B.R. 143, 158 (Bankr. S.D.N.Y. 2005))), with approval within the sound

discretion of the court. Arrow Air, 85 B.R. at 891; see also Depo v. , Chase Lincoln First Bank,

N.A. (In re Depo), 77 B.R. 381,383 (N.D.N.Y. 1987). “[T]he bankruptcy court does not substitute

its judgment for that of the Debtor” (Depo, 11 B.R. at 384) (citations omitted)), but it is to make

“an independent determination” of the propriety of the proposed settlement terms without merely

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accepting a trustee’s statement that the settlement is reasonable, or rubber stamping such proposal.

Nellis, 165 B.R. at 122 (citing Ionosphere, 156 B.R. at 426).

        17.     The court is not required in making its independent determination “to decide the

numerous questions of law and fact . . . [R]ather [the court should] canvass the issues and see

whether the settlement falls below the lowest point in the range of reasonableness.” Cosoff v.

Rodman (In re W. T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983). Thus, the court does not engage

in a “mini-trial” of the dispute being settled. In re Soup Kitchen Inti Inc., 506 B.R. 29, 37 (Bankr.

E.D.N.Y. 2014) (“A bankruptcy court need not conduct an independent investigation into the

reasonableness of the settlement.... It is not necessary for the court to conduct a ‘mini-trial’ of the

facts or the merits underlying the dispute.” (quoting In re Chemtura Corp., 439 B.R. 561, 594

(Bankr. S.D.N.Y. 2010))); In re Purofied Down Prods. Corp., 150 BR. 519 (S.D.N.Y. 1993)

(noting that mini-trial of settled claims to determine whether settlement should be approved was

not necessary). All that the proponent of the settlement must do is establish that it is “prudent to

eliminate the risks of litigation to achieve specific certainty though admittedly [the settlement]

might be considerably less (or more) than were the case fought to the bitter end.” Fla. Trailer &

Equip. Co. v. Deal, 284 F.2d 567, 573 (5th Cir. 1960); see also United States v. Alaska Natl Bank

ofN (In re Walsh Constr., Inc.), 669 F.2d 1325, 1328 (9th Cir. 1982) (bankruptcy court need not

conduct “exhaustive investigation into the validity of the asserted claim”).

        18.    The court “may give weight to the opinions of the Trustee, the parties [to the

settlement], and their counsel.” In re Bell & Beckwith, II B.R. 606, 612 (Bankr. N.D. Ohio 1987);

see also Handler, 386 B.R. at 421.

        19.    The Second Circuit has elaborated on the factors discussed in TMT and its progeny,


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and outlined the following seven factors (the “Iridium Criteria”) to be considered by a court in

deciding whether to approve a compromise or settlement:

                     i. the balance between the litigation’s possibility of success and the
                        settlement’s present and future benefits;
                    ii. the likelihood of complex and protracted litigation, with its attendant
                        expense, inconvenience, and delay [ ];
                   iii. the paramount interest of the creditors, including the proportion of
                        class members who do not object to or who affirmatively support
                        the settlement;
                   iv. whether other parties in interest support the settlement;
                    v. the competency and experience of the counsel who support the
                        proposed settlement;
                   vi. the relative benefits to be received by individuals or groups within
                        the class; and
                  vii. the extent to which the settlement is the product of arms’ length
                        bargaining.

Motorola, Inc. v. Official Comm, of Unsecured Creditors (In re Iridium Operating LLC), 478 F.3d

452m 462 (2d Cir. 2007); see also Soup Kitchen, 506 B.R. at 37 (“In evaluating whether a

settlement is above the lowest point in the range of reasonableness, bankruptcy courts in the

Second Circuit look to the factors set forth in [Iridium]"}.

       20.     Here, the Trustee has determined that reaching a compromise with the Liquidators,

upon the terms and conditions of the Agreement, is in the best interest of the Debtor’s Estate and

its creditors, falls well above the lowest level on a range of reasonableness, and is the most

economical and efficient way to move the Estate forward on a path to being able to try and recover

money for its creditors. Moving in as prudent and expeditious manner as possible without the need

to incur additional fees or run the risks and delay inherent with litigation is fully supported here.

Balancing of Possibility of Success with Benefits of Compromise:

       21.     All litigation comes with risks, which are always present even when a party believes

strongly in its position. Settlement or compromise removes that risk. It is currently difficult to

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ascertain the possibility of success because each potential asset may have its own facts and

circumstances underlying how and with what funds it was acquired, and many of those facts and

circumstances remain unknown.          It is certainly reasonably to believe that such facts and

circumstances may give rise to an all or nothing determination as to whom should be found entitled

to ownership of a particular asset. The Trustee respectfully submits that the unknown should not

weigh against approval of the Agreement and, on balance, the clearing of litigation so that assets

can be recovered and then shared, provides a far better benefit of the compromise than litigating

first and hoping that the outcome is in the Trustee’s favor. Those litigations would take time and

the Qin Debtor’s Estate would incur a substantial cost. Moreover, the terms of the Agreement

provide incentive to the Parties to spend all of their time and attention on locating assets to recover

and liquidate for the benefit of creditors regardless of the effort expended or the location of the

assets.

          22.   Therefore, this factor weighs in favor of approving the Agreement.

Likelihood of Complex and Protracted Litigation.

          23.   Because of the apparent Byzantine efforts of the Qin Debtor to hide his assets from

his creditors over the years, the Trustee and the Liquidators agree that the litigations to locate those

assets, recover them, and then determine who has a stronger claim to them come with a fairly high

level of complexity that may include proceedings in foreign courts. Such litigations could become

even more complex if they involve the laws of foreign jurisdictions and/or issues of solvency.

Furthermore, there may be times that such litigation over who is entitled to a particular asset would

involve an all or nothing outcome. This Agreement removes the need to for any such litigations,

as between the Trustee and the Liquidators, over assets and focuses all of their collective attention


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on locating assets that can be recovered and liquidated for the mutual benefit of both proceedings.

        24.     As a result, to the extent applicable, approval of the Agreement based on this factor

is clearly supported.

Best interests of creditors

        25.     Success in this case will only be achieved by the Trustee actually recovering assets

or the proceeds thereof. Thus, the best interests of creditors require the Trustee being put in the

best position possible to effectuate such recoveries. There exists a language barrier in this case, at

least in so far as it is believed that a substantial amount of the information necessary to trace and

prove that assets actually belong to the Qin Debtor are in Chinese. Moreover, much of that

information appears to be located outside the United States. All or most all of the information

concerning the Qin Debtor’s time running the HK Debtor is located, upon information and belief,

in Hong Kong or other of China’s territories. Those factors are reasonably projected to, absent

outside assistance, substantially increase the costs and timing of administration of this case

compared to a case centered in the United States.

        26.     The pool of potentially recoverable assets is believed to be extensive, but with the

detail and location of most of those assets currently unknown. It is also believed that most of those

assets are hidden by the Qin Debtor within a maze of companies and individuals nominally holding

his assets, orchestrated by him to evade his creditors. While the Agreement does not immediately

result in any recovery for the Debtor’s Estate, its terms are still in the best interests of the Estate’s

creditors because this resolution avoids the Estate incurring litigation costs and expenses over

ownership and/or entitlement to assets and proceeds of assets. It also takes into account that some

assets may not be easily recovered, particularly those located overseas, through the Trustee and


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the Liquidators working together both on an information level as well as an asset recovery level.

There is also a substantial cross-over of creditors between the two insolvency cases. Thus, the

Agreement provides substantial benefits to the Debtor’s Estate and creditors.

        27.    Accordingly, this factor weighs in favor of approving the Agreement.

Parties represented by competent and experienced counsel:

       28.     The Parties’ respective counsels have many years of combined experience in

litigation and settlements thereof. Additionally, counsel to the Trustee with over 35 years of

experience in bankruptcy litigation, recommends that the Court approve the Agreement, to avoid

the uncertainty and expenses of any current litigation, discovery and motion practice or risk the

incurrence of additional administrative costs.

Releases

       29.     The Agreement does not contain releases for the Parties or any third parties.

However, the Agreement does resolve the HK Debtor’s claims against the bankruptcy estate of the

Qin Debtor.

Arm’s Length Negotiations; No Fraud or Collusion

       30.     All of the Parties negotiated the terms and conditions of the Agreement with no

intent or evidence of fraud or collusion.

       31.     This factor supports approval of the Agreement.

       32.     Based on the foregoing, it is the Trustee’s and his counsel’s opinion that the terms

and conditions of the Agreement are fair and equitable and provide a tremendous amount of

savings directly beneficial to all of the Debtor’s creditors, and thereby falls well above the lowest

level in a range of reasonableness under the Iridium Criteria.


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                                    NO PREVIOUS REQUEST

          33.    No previous request for the relief requested herein has been made by the Trustee to

this or any other Court, except that the Trustee has a pending motion seeking approval under Rule

9019 of an unrelated compromise [ECF Doc. No. 71], The hearing on that motion has not yet

occurred and is currently scheduled for December 30, 2024.

                          STATUTORY BASIS FOR RELIEF REQUESTED

          34.    Because this Motion presents no novel issues of law and the authorities for relief

sought by the Trustee are set forth herein, the Trustee respectfully submits that it has complied

with the requirements of Local Bankruptcy Rule 9013-1(a) and no separate memorandum of law

is necessary, but the Trustee reserves the right to file a brief in reply to any objection to this

Application.

          WHEREFORE, the Trustee respectfully requests that this Court enter an order pursuant

to 11 U.S.C. § 105(a) and Bankruptcy Rules 2002(a)(3) and 9019(a) finding that the terms and

conditions of the Agreement fall above the lowest level in the range of reasonableness and,

accordingly, approving the Agreement and providing such other and further relief as is just and

proper.

Dated: East Meadow, New York
       December 23, 2024

                               CERTILMAN BALIN ADLER & HYMAN, LLP
                               Counsel to Chapter 7 Trustee

                                       By /s/ Richard J. McCord______________
                                          Richard J. McCord, Esq.
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